     Case 1:02-cv-04911-LAP Document 544 Filed 07/05/07 Page 1 of 20




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------x
CAROLYN FEARS, et. al.,                                                 :
                                                                        :
                                             Plaintiffs,                :
                                                                        :    02 Civ. 4911 (HB)
                  - against -                                           :
                                                                        :
                                                                        :     OPINION AND
                                                                        :      ORDER
WILHELMINA MODEL AGENCY, INC., et. al.,                                 :
                                                                        :
                                             Defendants.                :
------------------------------------------------------------------------x
Hon. HAROLD BAER, JR., District Judge:
        Plaintiffs, by and through Lead Plaintiffs’ Counsel Boies, Schiller & Flexner LLP,
as well as Hayes & Hardy LLP and Berger & Montague, P.C., request that I raise this
Court’s prior award of attorneys’ fees and expenses, as well as adjust this Court’s
distribution of residual settlement funds, following the Second Circuit’s remand of this
litigation to this Court. See Masters v. Wilhelmina Model Agency, Inc., 473 F.3d 423
(2d Cir. Jan. 4, 2007).
        For the following reasons articulated below, Plaintiffs’ requests are granted in part
and denied in part.1
                                      I.       BACKGROUND
        Familiarity with the facts of this litigation, as set forth in prior opinions,2 is
presumed and those facts will not be restated here.


1
  The Court would like to thank Christine Rose of Brooklyn Law School for her assistance in researching
this Opinion.
2
  See Fears v. Wilhelmina Model Agency, Inc., 2004 U.S. Dist. LEXIS 8364, 2004 WL 1065543 (S.D.N.Y.
May 11, 2004) (Pitman, J.) (sanctions); Fears v. Wilhelmina Model Agency, Inc., 2004 U.S. Dist. LEXIS
4502, 2004 WL 594396 (S.D.N.Y. Mar. 23, 2004) (Baer, J.) (summary judgment); Fears v. Wilhelmina
Model Agency, Inc., 2003 U.S. Dist. LEXIS 11897, 2003 WL 21659373 (S.D.N.Y. Jul. 15, 2003) (Baer, J.)
(class certification); Masters v. Wilhelmina Model Agency, Inc., 2003 U.S. Dist. LEXIS 8060, 2003 WL
21089073 (S.D.N.Y. May 13, 2003) (Pitman, J.) (strike opposition to class certification); Masters v.
Wilhelmina Model Agency, Inc., 2003 U.S. Dist. LEXIS 7143, 2003 WL 1990262 (S.D.N.Y. Apr. 29,
2003) (Baer, J.) (motion to dismiss); Masters v. Wilhelmina Model Agency, Inc., 2003 U.S. Dist. LEXIS
698, 2003 WL 145556 (S.D.N.Y. Jan. 17, 2003) (Baer, J.) (motion to dismiss); Fears v. Wilhelmina Model
Agency, Inc., 2005 U.S. Dist. LEXIS 7961, 2005 WL 1041134 (S.D.N.Y. May 5, 2005) (Baer, J.)
(approving class settlement, award of attorneys’ fees, and distribution of residual funds);
Fears v. Wilhelmina Model Agency, Inc., 2005 U.S. Dist. LEXIS 10764, 2005 WL 1325297 (S.D.N.Y. Jun.


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     Case 1:02-cv-04911-LAP Document 544 Filed 07/05/07 Page 2 of 20




        A. Approval of Settlement and Attorneys’ Fees and Subsequent Reconsideration
        On May 5, 2005, I approved the final proposed settlement of this litigation. See
Fears v. Wilhelmina Model Agency, Inc., 2005 U.S. Dist. LEXIS 7961, 2005 WL
1041134 (S.D.N.Y. May 5, 2005). I awarded attorneys’ fees on the basis of claims made
against the Settlement Fund, rather than the amount of the total Settlement Fund. Fears v.
Wilhelmina Model Agency, Inc., 2005 U.S. Dist. LEXIS 7961, at *11-17. Accordingly, I
awarded attorneys’ fees of $3,759,583.16, which represented 40 percent of the claims
made against the Settlement Fund at that time.3 Id. at *52. I noted that that award of
attorneys’ fees equaled 17.2% of the entire fund.4 Id. I noted, when I considered the
quality of representation by class counsel, the previous sanctions that had been imposed
on Plaintiff’s counsel. Id. at *27-29. I awarded Class Counsel all its claimed expenses,
which Plaintiff’s counsel represented at that time totaled $1,590,164.65. Id. at *52. I
also found acceptable counsel’s estimate of $75,000 to $100,000 for the cost of fund
administration. Id. On June 6, 2005, I declined, upon Plaintiff’s counsel’s motion for
reconsideration, to modify my award of attorneys’ fees. See Fears v. Wilhelmina Model
Agency, Inc., 2005 U.S. Dist. LEXIS 10764, at *13-14, 2005 WL 1325297 (S.D.N.Y.
Jun. 6, 2005).
        On May 5, 2005, I also provided for the cy pres distribution of unclaimed residual
funds to several charities,5 pursuant to the clear and unequivocal dictates of the
Settlement Agreement. See Fears v. Wilhelmina Model Agency, Inc., 2005 U.S. Dist.
LEXIS 7961, at *32-39; Settlement Agreement, October 12, 2004 (“Settlement




6, 2005) (Baer, J.) (denying motion for reconsideration of award of attorneys’ fees, and distribution of
residual funds); Fears v. Wilhelmina Model Agency, Inc., 2005 U.S. Dist. LEXIS 12838, 2005 WL
1529577 (S.D.N.Y. Jun. 28, 2005) (Pitman, J.) (denying motion for reconsideration of sanctions);
Masters v. Wilhelmina Model Agency, Inc., 473 F.3d 423 (2d Cir. Jan. 4, 2007) (remanding to district
court).
3
  I noted that Plaintiff’s counsel’s combined lodestar was estimated by Plaintiff’s counsel to total
approximately 28,000 hours and $8,816,275. If one factored in 335 additional professional hours that four
additional counsel spent on specific discovery tasks, Plaintiff’s counsel’s combined lodestar totaled
$9,112,160. Fears v. Wilhelmina Model Agency, Inc., 2005 U.S. Dist. LEXIS 7961, at *21.
4
  Plaintiffs’ counsel had requested 33% of the entire fund. Id. at *17. At the time, the entire fund
comprised $21,855,000. Id. at *4.
5
  At that time, over $6 million of unclaimed residual funds remained in the Settlement Fund. Fears v.
Wilhelmina Model Agency, Inc., 2005 U.S. Dist. LEXIS 7961, at *32 n.12.


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     Case 1:02-cv-04911-LAP Document 544 Filed 07/05/07 Page 3 of 20




Agreement”) ¶ D.2(b)(4).6 Since the majority of the Plaintiffs were female, I chose, after
extensive interviews with a variety of doctors and hospital administrators, etc., and in
accordance with cy pres doctrine since the majority of the class was female, those that
would address maladies that primarily affect women, by directing the residual funds to,
e.g. an ovarian cancer research program, an eating disorders program, and others. See
Fears v. Wilhelmina Model Agency, Inc., 2005 U.S. Dist. LEXIS 7961, at *39-51.
         Plaintiffs, in their motion for reconsideration, argued for the very first time that I
should have instead distributed residual funds to Plaintiffs pursuant to my authority to
award treble damages for antitrust violations under the Clayton Act. I declined to modify
the distribution of residual funds, based on the fact that the Settlement Agreement did not
mention the possibility of an award of treble damages.7 See Fears v. Wilhelmina Model
Agency, Inc., 2005 U.S. Dist. LEXIS 10764, at *9-13. Interestingly, Plaintiffs’ counsel
had fought to achieve just this settlement and had urged me to review the terms of the
settlement with each Defendant separately just to make sure it was what each Defendant
understood to be the terms and would agree to.
         Plaintiffs, and Plaintiffs’ counsel, appealed to the Second Circuit Court of
Appeals on October 25, 2005. See Masters v. Wilhelmina Model Agency, Inc., 473 F.3d
423, 433-34 (2d Cir. 2007).

         B. Second Circuit Opinion and Remand
         The Second Circuit, on January 4, 2007, vacated this Court’s award of counsel
fees. Masters v. Wilhelmina Model Agency, Inc., 473 F.3d 423, 426, 436-38. The
Second Circuit clarified its prior holdings and held explicitly that an award of counsel
fees in a class action must be based on the amount of the total Settlement Fund, rather
than claims made against the Settlement Fund. Id. at 437.




6
  “If the sum of the Total Recognized Losses of all Authorized Claimants who submit valid and timely
proof of claim forms is less than the amount of the Net Settlement Fund, then the Court shall, in its
discretion, determine the disposition of the amount representing the difference between the two figures,
after hearing the parties hereto as to such disposition.” Settlement Agreement ¶ D.2(b)(4).
7
  Plaintiffs also argued that I possessed the authority to award prejudgment interest to Plaintiffs. I similarly
held that as the Settlement Agreement was silent as to prejudgment interest, I did not possess such
authority. Fears v. Wilhelmina Model Agency, Inc., 2005 U.S. Dist. LEXIS 10764, at *11. Accordingly, I
declined to award prejudgment interest. Id. at *13.


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     Case 1:02-cv-04911-LAP Document 544 Filed 07/05/07 Page 4 of 20




        The Second Circuit also held that it was error for this Court, when it awarded
attorneys’ fees, to take into account the conduct for which Plaintiffs’ counsel had been
sanctioned. Id. at 437. It reasoned that since the Magistrate Judge had already imposed a
fine and ordered Plaintiffs’ counsel to exclude certain charges from its fee petition, for
me to consider those sanctions in a determination of attorneys’ fees would be “double
count[ing].” Id.
        The Second Circuit also held, citing a single district court decision from Illinois,
that this Court possessed the discretion, notwithstanding the fact that the parties had
concluded not to include it in the Settlement Agreement, to award treble damages to
Plaintiffs.8 See id. at 435-36 (“[A] treble damages award did lie within… the District
Court's discretion and should be considered on remand”), citing In re Folding Carton
Antitrust Litig., 557 F. Supp. 1091, 1104-07 (N.D.Ill. 1983) (“Folding Carton”).
Although the Second Circuit declined to hold that this Court’s cy pres allocation of
excess funds to charities constituted an “abuse of discretion,” it directed me on remand to
consider that cy pres allocation anew in light of my discretion to award treble damages to
Plaintiffs. See id. at 436.

        C. Plaintiffs’ Instant Request
        Following remand, Plaintiffs and Plaintiff’s counsel submitted this instant request.
Plaintiffs’ counsel requested that I award additional attorneys’ fees of $2,977,842.33, on
top of my original May 5, 2005 award of $3,759,583.16, for a total of over $6.7 million
dollars. See Points and Authorities In Support of Plaintiffs’ Request For Adjustment and
Supplementation of Class Awards, Attorneys’ Fees, and Expenses, April 9, 2007, (“Pl.
Mem.”) at 11. Such an award would constitute 33% of the entire Settlement Fund, which
echoes Plaintiff’s counsel’s original fee request of December 2004. Id. Of the additional
almost three million dollars requested, $1,109,739.50 represents 2,744.3 hours of




8
 The Second Circuit rejected Plaintiffs’ argument that class members were entitled to prejudgment interest.
“…[T]he Clayton Act does not allow for prejudgment interest in the absence of a finding of bad faith on the
part of defendants causing a material delay in the adjudication of the dispute… a finding not made here.”
Masters v. Wilhelmina Model Agency, Inc., 473 F.3d at 435-36 (internal citation omitted), citing 15 U.S.C.
§ 15(a).


                                                    4
       Case 1:02-cv-04911-LAP Document 544 Filed 07/05/07 Page 5 of 20




additional work by Plaintiffs’ counsel since their original December 2004 fee request.9
See Affirmation of Andrew W. Hayes, April 9, 2007, at ¶ 35. Plaintiff’s counsel also has
requested expenses of $70,835.36, representing counsel’s expenses since its original fee
request, and expenses of $90,782.16, representing additional costs incurred by the claims
administrator.10 Id. at 16.
         Plaintiffs also proposed several alternative dispositions for the remaining residual
funds, in light of the Second Circuit’s holding that this Court possesses the discretion to
award treble damages to Plaintiffs. (Plaintiffs noted that their proposed alternative
dispositions were not mutually exclusive.)
         First, Plaintiffs proposed that this Court award residual funds to claimants who
filed late claims after September 15, 2006. Secondly, Plaintiffs proposed that already-
compensated claimants receive a pro rata distribution of the residual funds in excess of
the single damages already awarded to them. Third, Plaintiffs proposed that already-
compensated claimants receive compensation for the portions of their claims that
predated the statute of limitations in this action (i.e., claims that arose before 1998).
Fourth, Plaintiffs proposed that claimants already compensated in this action receive
compensation for state-law causes of action that were dismissed from this action, but
have been brought in a separate, but factually similar, state court class action. (Many
claimants in this action are also class members in the state court class action.) Lastly,
Plaintiffs proposed that I simply allocate the residual funds to the state Court supervising
that separate, but factually similar, state court class action to distribute as that Court sees
fit.

         D. Status of Settlement Fund
         As of April 30, 2007, as reported by the Claims Administrator and certified by the
Escrow Agent, the actual Settlement Fund comprises in total $21,705,000.11 Five

9
  Of those 2,744.3 hours worked since December 2004, Plaintiff’s counsel represents that 2,133.5 hours
pertain to the appeal of this matter to the Second Circuit. See Affirmation of Andrew W. Hayes, April 9,
2007, at ¶ 35.
10
   Plaintiffs’ counsel originally requested $64,898.66 for expenses incurred by the claims administrator.
Subsequently, the claims administrator discovered a bookkeeping error, and after discussion between the
claims administrator and plaintiffs’ counsel, revised its request to $90,782.16. See Letter of Ed Sincavage,
June 26, 2007, at 1-2.
11
   The proposed Settlement Fund comprised $21,855,000. See Fears v. Wilhelmina Model Agency, Inc.,
2005 U.S. Dist. LEXIS 7961, at *4. However, Plaintiffs represent, and Defendants do not dispute, that


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     Case 1:02-cv-04911-LAP Document 544 Filed 07/05/07 Page 6 of 20




distributions to claimants have been made, totaling $11,039,822.71 (including interest).
Notice was mailed to the claimants in October 2004, per my Order of October 12, 2004.
After several extensions of the initial January 6, 2005 filing deadline, the first distribution
to claimants occurred on October 28, 2005. Subsequent distributions were made per my
Orders which granted extensions for late filing of claims by class members. Said Orders
were signed on January 3, 2006, February 15, 2006, July 28, 2006, and October 17, 2006.
After taking into account a) interest accumulated on the Settlement Funds, and b)
expenses paid, e.g. attorneys’ fees and expenses already awarded, taxes, bank charges,
administrator fees, and awards to named plaintiffs, there remains, as of April 30, 2007,
$6,032,083.72 of residual Settlement Funds available for distribution.12
        Additionally, it should be noted that although in my May 5, 2005 Opinion
approving the settlement I awarded Plaintiffs’ counsel its requested expenses of
$1,590,164.65, Plaintiffs’ counsel subsequently discovered that in its original expenses
request it “double-counted” $240,701.38 of expenses, as well as $33,464.84 of associated
accumulated interest. See Affirmation of Andrew W. Hayes, April 9, 2007, at ¶ 39;
Letter of Ed Sincavage, June 26, 2007. Plaintiffs’ counsel has returned that $240,701.38
of expenses, as well as $33,464.84 of associated accumulated interest to the Settlement
Fund. Id. Thus, Plaintiff’s counsel has, in actuality, been reimbursed for all expenses in
the amount of $1,349,463.14, rather than the $1,590,164.65 I had originally allocated and
had been sought.

                               II.      STANDARD OF REVIEW

        This Court’s determination of a “reasonable” attorneys’ fee award from a
common fund is properly committed to its sound discretion. See Goldberger, 209 F.3d
43, 47 (“What constitutes a reasonable fee… will not be overturned absent an abuse of



Boss Models Inc., one of the Settling Defendants in this case, has yet to make its payments of $150,000 to
the Settlement Fund. See Affirmation of Andrew W. Hayes, April 9, 2007, at ¶ 42. Plaintiffs’ counsel
represents that they have contacted David Bosman, one of the principals of Boss Models, to no avail. Id. It
is expected that Plaintiffs’ counsel will continue those efforts on behalf of the common fund, and that
ultimately, Boss Models will satisfy its legal obligations to Plaintiffs and this Court.
12
   The claims administrator also estimates future expenses of $121,935.03 (i.e., $11,651.59 of estimated
federal taxes, $19,501.28 of notice printing costs, and $90,782.16 of administrator costs). Taking into
account the estimated future expenses of $121,935.03, there would remain $5,910,148.69 of residual
Settlement Funds available for distribution.


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     Case 1:02-cv-04911-LAP Document 544 Filed 07/05/07 Page 7 of 20




discretion, such as a mistake of law or a clearly erroneous factual finding.”) (citations
omitted).13
         This Court’s allocation of residual funds derived from a class settlement is
similarly properly committed to its sound discretion. See Masters v. Wilhelmina Model
Agency, Inc., 473 F.3d at 435, citing In re Agent Orange Prod. Liab. Litig. VI, 818 F.2d
179, 181 (2d Cir. 1987).14

                                          III.     DISCUSSION

         A. Plaintiffs’ Counsel’s Requests for Adjustment of Attorneys’ Fees and
            Supplemental Fees and Expenses
         The Second Circuit, as noted, held that an award of counsel fees in a class action
must be based on the amount of the total Settlement Fund, rather than claims made
against the Settlement Fund. Masters v. Wilhelmina Model Agency, Inc., 473 F.3d at
437. Accordingly, the Second Circuit clarified its prior caselaw and held that my
decision to base counsel fees on claims made against the fund was error. Id. “The entire
Fund, and not some portion thereof, is created through the efforts of counsel at the
instigation of the entire class. An allocation of fees by percentage should therefore be
awarded on the basis of the total funds made available, whether claimed or not.” Id.15
         The Second Circuit also noted that an award of counsel fees based on the total
Settlement Fund does not necessarily constitute a “windfall” to plaintiffs’ lawyers, as
“the court may always adjust the percentage awarded in order to come up with a fee it
deems reasonable in light of the Goldberger factors.” Masters v. Wilhelmina Model
Agency, Inc., 473 F.3d at 437, citing Wal-Mart Stores, Inc. v. Visa, USA, Inc., 396 F.3d
13
   “Indeed, ‘abuse of discretion’ - already one of the most deferential standards of review - takes on special
significance when reviewing fee decisions. ‘The district court, which is intimately familiar with the
nuances of the case, is in a far better position to make [such] decisions...’” Goldberger v. Integrated Res.,
Inc., 209 F.3d 43, 47-48, citing In re Bolar Pharm. Co. Sec. Litig., 966 F.2d 731, 732 (2d Cir. 1992).
14
   A district court abuses its discretion when “(1) its decision rests on an error of law (such as application of
the wrong legal principles) or a clearly erroneous factual finding, or (2) its decision - though not necessarily
the product of a legal error or a clearly erroneous factual finding - cannot be located within the range of
permissible decisions." Masters v. Wilhelmina Model Agency, Inc., 473 F.3d at 435, citing Zervos v.
Verizon New York, Inc., 252 F.3d 163, 169 (2d Cir. 2001).
15
   As the Second Circuit noted, at the time, there was a “split of authority on the subject.” See Masters v.
Wilhelmina Model Agency, Inc., 473 F.3d at 437, citing 7B Charles Alan Wright & Arthur R. Miller,
FEDERAL PRACTICE & PROCEDURE § 1803.1 (2d ed. 2004). The Second Circuit sided with Circuits
that had taken the “basis of the entire Fund” approach. See id., citing Waters v. Int'l Precious Metals Corp.,
190 F.3d 1291, 1295 (11th Cir. 1999); Williams v. MGM-Pathe Commc'ns Co., 129 F.3d 1026, 1027 (9th
Cir. 1997).


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     Case 1:02-cv-04911-LAP Document 544 Filed 07/05/07 Page 8 of 20




96, 121 (2d Cir. 2005); Goldberger v. Integrated Res., Inc., 209 F.3d 43, 49-50 (2d Cir.
2000) (“Goldberger”). Those factors are “(1) counsel's time and labor; (2) the litigation's
complexities and magnitude; (3) the litigation risks; (4) quality of representation; (5) the
relationship of the requested fee to the settlement; and (6) considerations of public
policy.” Id. at 436, citing, e.g., Goldberger at 49-50.
         In my May 5, 2005 Opinion, notwithstanding my decision to base counsel fees on
claims made against the settlement fund, I noted that my award of counsel fees of
$3,759,583.16 represented 17.2% of the entire settlement fund. Fears v. Wilhelmina
Model Agency, Inc., 2005 U.S. Dist. LEXIS 7961, at *52. I analyzed that award in light
of the Goldberger factors. See id. at *17-32. Specifically, I analyzed the relationship of
the requested fee to the settlement, and cited caselaw which supported the proposition
that an award of 17.2% of the entire settlement fund is within a “reasonable” range for
counsel fees. See id. at *30 n.11, citing, e.g., In re Interpublic Secs. Litig., 2004 U.S.
Dist. LEXIS 21429, 2004 WL 2397190, at *11 (S.D.N.Y. Oct. 26, 2004) (setting fee
award at 12% of the entire settlement fund (distributed in stock and cash) where
plaintiffs' counsel had sought 17% of entire fund); In re Visa Check/Mastermoney
Antitrust Litig., 297 F. Supp. 2d 503 (E.D.N.Y. 2003) (setting fee award at 6.5% of the
entire settlement fund where plaintiffs' counsel sought 18%); In re Twinlab Corp. Sec.
Litig., 187 F. Supp. 2d 80 (E.D.N.Y. 2002) (setting fee award at 12% of common fund
where plaintiffs' counsel sought 33%); In re Fine Host Corp. Sec. Litig., 2000 U.S. Dist.
LEXIS 19367, 2000 WL 33116538, at *6 (D. Conn. Nov. 8, 2000) (setting fee award at
17.5% of the settlement fund where plaintiffs' counsel sought 33.3%).
         Plaintiff’s counsel notes that unlike the above cases, plaintiff’s counsel’s fee in
this case was a negative multiplier of its lodestar.16 However, a negative multiplier of
plaintiff counsel’s lodestar is not out of the ordinary in common fund cases, particularly
where awarding a positive multiplier of the lodestar may “swallow up” a significant
portion of the settlement funds. See In re NTL, Inc. Secs. Litig., 2007 U.S. Dist. LEXIS
13661, at *29-31 (S.D.N.Y. Mar. 1, 2007) (collecting cases), citing, e.g., In re Sterling
Foster & Co. Sec. Litig., 2006 U.S. Dist. LEXIS 80861, 2006 WL 3193744, at *8

16
  Plaintiff’s counsel’s fee award represented 42% of its calculated lodestar (or 41.2%, if one calculated the
lodestar by taking into account the additional 335 hours four counsel spent on specific discovery tasks).
See note 3, supra.


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     Case 1:02-cv-04911-LAP Document 544 Filed 07/05/07 Page 9 of 20




(E.D.N.Y. Oct. 31, 2006) (“without the negative multiplier, [counsel’s] lodestar amount
would swallow up a significant amount of the settlement fund.").
        Accordingly, I see little reason to modify my original award of 17.2% of the
entire settlement funds and find it to be “reasonable” in light of the six Goldberger
factors.17 That said, two issues warrant mention, in light of the Second Circuit’s
directives, and events subsequent to my May 5, 2005 Opinion.
        First, the Second Circuit held that my consideration of sanctions against plaintiff’s
counsel, when I considered the Goldberger factor of “quality of representation,” was
error. Masters v. Wilhelmina Model Agency, Inc., 473 F.3d at 437. Plaintiff’s counsel,
as I noted, had previously been sanctioned $25,000 and directed to excise certain claimed
fees from its fee application. Fears v. Wilhelmina Model Agency, Inc., 2005 U.S. Dist.
LEXIS 7961, at *27-28. Those fees totaled $119,784.50. See Affirmation of Andrew
Hayes, June 22, 2007. The Second Circuit, without citing caselaw, expressed a concern
that there be no “double counting” of these sanctions. See Masters v. Wilhelmina Model
Agency, Inc., 473 F.3d at 437.
        On remand, without consideration of the prior sanctions against Plaintiffs’
counsel, I still find that the initial award of 17.2% of the entire settlement funds was
“reasonable” upon new consideration of the quality of representation, and the other five
Goldberger factors, particularly the size of the requested fee in relation to the agreement,
as noted above.
        Secondly, Plaintiff’s counsel avers that it has expended substantial additional
time, effort, and money on this litigation since its original December 2004 fee
application. Plaintiff’s counsel represents, and Defendants do not dispute, that Plaintiff’s
counsel has, inter alia, monitored claims and responded to class members’ inquiries;
provided status reports to the Court; successfully moved for extensions of filing
deadlines; overcame opposition from Defendants to put the settlement into effect;
investigated instances of alleged agency misconduct and complaints that defendants were
not complying with the Settlement; overcame Defendants’ opposition to disbursement of
17
  It is worth noting that there was hardly any opposition following my May 5, 2005 Opinion – not, I
suggest, because the Defendants thought Plaintiffs’ counsel deserved a higher fee, or because of a change
in the settlement agreement, as made clear by the one Defendant that did submit an opposition, but because
the settlement had been agreed upon and Defendants saw no reason to throw more time and money at the
Court and as a consequence the Circuit in essence heard only from the Plaintiffs.


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     Case 1:02-cv-04911-LAP Document 544 Filed 07/05/07 Page 10 of 20




certain funds; and successfully appealed to the Second Circuit, in part, to obtain
additional funds on behalf of the class members. See Pl. Mem. at 5. These activities
represent 2,744.3 hours of additional work, calculated at $1,109,739.50. The Second
Circuit appeal comprises the large majority of time expended, i.e. 2,133.5 hours.
        The Court may award supplemental fees to counsel for work performed in relation
to the litigation or settlement following counsel’s initial fee application. See Olick v.
Parker & Parsley Petroleum Co., 145 F.3d 513, 515, 516 (2d Cir. 1998) (affirming district
court’s award of supplemental fees to class counsel for time and expenses spent
defending the settlement), citing Orchano v. Advanced Recovery, Inc., 107 F.3d 94, 98
(2d Cir. 1997); cf. West v. Manson, 163 F. Supp. 2d 116 (D. Conn. 2001) (plaintiff’s
class counsel in civil rights lawsuit awarded supplemental fees for post-settlement work
in conjunction with monitoring of compliance with consent decree). Accordingly, as
Plaintiffs’ counsel has performed a benefit to the class with its additional post-settlement
work, I will supplement my original May 5, 2005 award of counsel fees with an award of
fees for supplemental work performed since the original fee application, in the same
proportion to Plaintiff’s counsel’s requested fees as I originally awarded on May 5, 2005.
As on May 5, 2005, I awarded Plaintiff’s counsel 52% of its originally requested fees, I
now award Plaintiff’s counsel 52% of its requested supplemental fees – i.e., $577,064.54.
        Thus, the total amount of fees awarded to Plaintiff’s counsel in this litigation is
$3,759,583.16 plus $577,064.54, resulting in a total of $4,336,647.70. This award
represents 20% of the entire settlement fund as it stands today.18
        Regarding Plaintiff’s counsel’s requests for expenses of $70,835.36, representing
counsel’s expenses since its original fee request, and expenses of $90,782.16,
representing additional costs incurred by the claims administrator, I find those requests
reasonable and both will be granted.
        B. Plaintiffs’ Request for an Award of Treble Damages from the Remaining
           Settlement Funds
        The Second Circuit, as noted above, has held that this Court, pursuant to the
discretion vested in it by the language of the Settlement Agreement, possessed discretion


18
  This award represents 42.4% of Plaintiff’s counsel’s current lodestar of $10,221,899.50. See Pl. Mem. at
6 n.7.


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     Case 1:02-cv-04911-LAP Document 544 Filed 07/05/07 Page 11 of 20




to allocate funds to the class members as treble damages.19 Masters v. Wilhelmina
Model Agency, Inc., 473 F.3d at 435-36, citing Folding Carton, 557 F. Supp. 1091, 1104-
07.20 I will proceed under that assumption here.
          “[C]ourts have the power and the responsibility to exercise equitable discretion to
achieve substantial justice in the distribution of [unclaimed portions of settlement]
funds.” Folding Carton, 557 F. Supp. 1091, 1105, citing, e.g., 3 Newberg, Class Actions
§ 5620j (1977). Accordingly, I will consider, pursuant to my equitable discretion, the
several alternative options proposed by Plaintiffs for allocation of the residual funds, as
well as the cy pres allocation to charities that I directed in my May 5, 2005 opinion.21 As
part of my consideration, I will weigh the “relative deservedness” of the claimants to the
residual funds, a determination that is informed by “the punitive and compensatory
policies of the antitrust laws… and the extent to which each [group of claimants] has
been compensated for any actual injury it may have suffered.” Folding Carton, at 1105,
citing United States v. Morgan, 307 U.S. 183, 194, 197-98, 83 L. Ed. 1211, 59 S. Ct. 795
(1939).

                         1. Single Damages Recovery for Late-Filing Claimants

          Plaintiffs request that I allocate part of the residual funds to pay certain class
members claims that were filed late (in addition to previous late-filed claims which I

19
   It should be noted that it does not appear I possess discretion to award treble damages if such an award
would increase Defendant’s obligations under the Settlement Agreement. See Dahingo v. Royal Caribbean
Cruises, Ltd., 312 F. Supp. 2d 440, 446 (S.D.N.Y. 2004) (allowing payment of late-filed claims, Court
noted, “where a change in the allocation of a settlement fund affects only the distribution among class
members and not the obligations of the defendants, courts will exercise their equitable powers.”), cited
approvingly, Fears v. Wilhelmina Model Agency, Inc., 2005 U.S. Dist. LEXIS 10764, at *9-11; compare In
re Ml-Lee Acquisition Fund II, 1999 U.S. Dist. LEXIS 4084 (D. Del. 1999), at *6-8 (where Agreement
provided for “reversion” of excess funds to Defendants, Court declined to exercise equitable discretion to
allow late-filed claims because it would affect Defendants’ obligations and thus “rewrite the Settlement
Agreement”). Neither side has proposed such an option that would affect Defendants’ obligations here.
20
   “The District Court, after hearing the views of the parties, is vested with discretion as to the disposition
of the Excess Funds.” Masters v. Wilhelmina Model Agency, Inc., 473 F.3d at 435. “[A] treble damages
award did lie within the ambit of the District Court's discretion and should be considered on remand.” Id.
at 436.
21
   Although some Defendants originally sought for the residual funds to revert back to Defendants, see
Fears v. Wilhelmina Model Agency, Inc., 2005 U.S. Dist. LEXIS 7961, at *32, Defendants have not
renewed that request on remand. Indeed, even if Defendants did so, Defendants’ equitable claim to the
residual funds would be insubstantive. See Folding Carton at 1105 (“The overriding Sherman Act policy of
deterring price fixing violations… is the most important factor in assessing the defendants' possible
equitable entitlement to the reserve fund…. [I]n light of [this policy] and the defendants' wrongdoing, we
reject [defendants’] equitable claim to the fund.”).


                                                     11
    Case 1:02-cv-04911-LAP Document 544 Filed 07/05/07 Page 12 of 20




previously approved). Specifically, Plaintiffs request that I pay seven claims postmarked
through August 31, 2006, which have been evaluated and processed by the claims
administrator, totaling $347,329.91 (plus interest); and seven claims postmarked between
September 15, 2006 and April 11, 2007, which have been evaluated and processed by the
claims administrator, totaling $255,929.22 (plus interest). The Claims Administrator also
requests additional time to procure documentation from 24 claimants, who request a total
of $1,791,058.67 (although Plaintiffs’ counsel estimates from prior experience that the
ultimately approved claims will be one-third to two-thirds of that amount).
        The Second Circuit emphasized that cy pres allocation is generally to be used
after plaintiffs have had a full opportunity to make a claim and be compensated. See
Masters v. Wilhelmina Model Agency, Inc., 473 F.3d 423, 436 (“We are confident that
the district court, fully aware of the breadth of its discretion, will see to an appropriate
distribution of the funds remaining after the models have been compensated for their
actual losses.”) (emphasis added), citing American Law Institute, Draft of the Principles
of the Law of Aggregate Litigation ¶ 3.08 (proposed ALI rule limits cy pres distributions
“to circumstances in which direct distribution to individual class members is not
economically feasible, or where funds remain after class members are given a full
opportunity to make a claim.”). Additionally, I noted previously that models, as class
members go, are “notoriously peripatetic,” see Fears v. Wilhelmina Model Agency, Inc.,
2005 U.S. Dist. LEXIS 7961, at *7, and I have extended deadlines and approved prior
late-filed claims so as to ensure that all deserving class members are fully compensated.
Cf. Folding Carton, 557 F. Supp. at 1110 (Court, concomitant to its cy pres allocation to
charitable foundation, directed final effort to assist class members in making claims).
        In the spirit of the Second Circuit’s directive, I have from the very beginning and
will continue to provide class members with every opportunity to be compensated
pursuant to the Settlement Agreement, and before this Court directs a cy pres distribution.
Accordingly, I approve the two distributions of $347,329.91 (plus interest) and
$255,929.22 (plus interest), for a total of $603,259.13 (plus interest).
        Additionally, I have directed class counsel to send one final letter to claimants
who have made a claim, but provided insufficient information for the Claims
Administrator to process their claims. This letter will inform these claimants that the


                                              12
     Case 1:02-cv-04911-LAP Document 544 Filed 07/05/07 Page 13 of 20




final deadline to provide documentation will be July 30, 2007. Further, the Claims
Administrator will not accept any additional claims that it receives after June 30, 2007.
Subsequently, the Claims Administrator will have until August 31, 2007 to provide me
with their (truly) final audited and documented claims for approval. No claims will be
approved after that date.
                         2. Pro Rata Distribution to Already-Compensated Claimants In
                            Excess of Single Damages
         Secondly, Plaintiffs propose that I distribute the residual funds to already-
compensated claimants in excess of their single damages, pursuant to the Second
Circuit’s holding that I possess discretion to award treble damages to Plaintiffs. Plaintiffs
represent that if I made such a distribution, these claimants would then recover 116% of
their single damages.
         It seems relevant to mention that in Folding Cartons, the case relied upon by the
Circuit, that Court declined to award residual settlement funds to already-compensated
class members in excess of single damages. The Folding Cartons Court noted that
plaintiffs in that case voluntarily settled their claims – specifically, their claims for treble
damages which were not certain to be successful – and were amply compensated.22 See
Folding Cartons at 1106 (“The [plaintiffs’] contentions that they have not been properly
compensated and are therefore equitably entitled to an additional distribution proceed
from the assumption -- for which there is absolutely no demonstrated basis -- that the
class could have recovered treble damages…”) Accordingly, the Folding Cartons Court
termed a further distribution to already-compensated class members to be an “undeserved
windfall.”23 Id. at 1107.



22
   The Folding Cartons Court also noted that plaintiffs in that antitrust action generally “passed on” any
damages resulting from antitrust violations to consumers, and thus suffered little, if any, actual “out-of-
pocket” injury at all. Folding Cartons at 1106. Such a concern is not present in this case regarding the
model class members.
23
   Congress, when it provided for treble damages for antitrust violations, intended to create a private
enforcement mechanism that would achieve two objectives – first, to “deter violators and deprive them of
the fruits of their illegal actions,” and secondly, to “provide ample compensation to the victims of antitrust
violations.” Blue Shield of Va. v. McCready, 457 U.S. 465, 472 (1982). Treble damages here would,
admittedly, achieve the second goal of the antitrust laws in providing for “ample compensation” to the
victims (notwithstanding Defendants’ denials of liability). It is that aim that the Second Circuit emphasized
in its opinion that remanded this litigation. See Masters v. Wilhelmina Model Agency, Inc., 473 F.3d at
434, citing Hydrolevel Corp. v. Am. Soc'y of Mech. Eng'rs, Inc., 635 F.2d 118, 127 (2d Cir. 1980) ("[f]ull


                                                     13
    Case 1:02-cv-04911-LAP Document 544 Filed 07/05/07 Page 14 of 20




         Additionally, it is unclear whether Plaintiffs have proven the requisite “actual
injury” that normally underlies an award of treble damages for antitrust violations. To
recover treble damages in an antitrust action under the Clayton Act, a plaintiff must prove
that she “suffered actual injury in [her] business or property as a result of the defendant’s
violation of the antitrust laws.” New York v. Hendrickson Bros., Inc., 840 F. 2d 1065,
1076 (2d Cir. 1988), citing 15 U.S.C.A. § 15(a); see also Blue Tree Hotels Inv. (Canada),
Ltd. v. Starwood Hotels & Resorts Worldwide, Inc., 369 F.3d 212, 220 (2d Cir. 2004).


restitution of plaintiffs' losses is a no less central objective of the treble damage provision than the
encouragement of private antitrust enforcement.").
That said, the policy rationale of deterrence is not achievable at this stage of this case, as this Court is
foreclosed, pursuant to the Settlement Agreement, from requiring Defendants to incur additional
obligations. If treble damages serve a deterrent purpose similar to that of punitive damages, see State Farm
Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408, 416 (2003) (“[P]unitive damages… are aimed at deterrence
and retribution”), one could argue that to impose treble damages here would be analogous to awarding
punitive damages to a plaintiff without requiring that the money come from defendants – thus obviating the
underlying rationale behind punitive damages, and in effect granting a “windfall” rather than punishing a
wrongdoer. Cf. Folding Cartons at 1105-07 (noting “overriding Sherman Act policy of deterring price
fixing,” analyzing defendants’ and already-compensated plaintiffs’ equitable claims to residual funds, and
distributing reserve funds to neither).
While on the issue of deterrence, it is worth noting that the non-monetary accords, reached only after this
Court exercised a significant role in the discussion (perhaps a larger role than class counsel), will in the
fullness of time be far more important than the monetary damages. I set them out here for those who may
find them of interest.
First, the Agreement provides for increased transparency in the compensation process. “For a period of ten
years from the date the Court enters the Final Judgment Order for that Settling Defendant, each of the
Settling Defendants . . . will disclose to any and all Settling Defendant's models all compensation received
by it on all bookings made for that model, including but not limited to, the service charge(s), mother agent
fee(s), the gross fee received for the booking, and any other charge(s) or deduction(s) from the model's
compensation.” See Fears v. Wilhelmina Model Agency, Inc., 2005 U.S. Dist. LEXIS 7961, at *5, citing
Agreement ¶ B.7(c).
Second, the Agreement provides for an alternative dispute resolution mechanism to be incorporated into
model contracts. “From the date the Court enters the Final Judgment Order for the Settling Defendant,
each of the Settling Defendants . . . will include in its contracts with models an initial alternative dispute
resolution procedure of non-binding mediation (no longer than three (3) hours [in] duration, unless agreed
to the contrary in writing), to try to resolve disputes regarding the interpretation of, or the parties'
obligations under, the contracts, with the fees of the mediator to be borne equally by the parties to the
mediation, except that Next Management Co., Ford Model Management, LLC, Images Management and
Zoli Management, Inc. shall pay up to $ 1,000, with any fees in excess of that amount to be shared equally
by the parties, and with both parties paying their own attorneys' fees and costs, provided that nothing shall
limit the ability of the parties to include additional dispute resolution procedures in those contracts…” See
Fears v. Wilhelmina Model Agency, Inc., 2005 U.S. Dist. LEXIS 7961, at *5-6, citing Agreement ¶ B.7(e).
Third, the Agreement provides for clear notice to models of the percentage commission charged by
Defendants. “For a period of ten years from the date the Court enters the Final Judgment Order for the
Settling Defendant, each of the Settling Defendants . . . during the negotiation of any oral Model Contract
or written Model Contract . . ., will advise its models that the percentage commission charged the models
on bookings for them (as a contractual term) is a negotiable term.” See Fears v. Wilhelmina Model
Agency, Inc., 2005 U.S. Dist. LEXIS 7961, at *6-7, citing Agreement ¶ B.7(f).


                                                     14
     Case 1:02-cv-04911-LAP Document 544 Filed 07/05/07 Page 15 of 20




Thus, a plaintiff seeking treble damages must establish: 1) an injury to his property or
business; 2) the defendant’s violation of antitrust laws; and 3) a causal connection
between the defendant’s violation and the injury plaintiff has suffered. See Blue Tree
Hotels, 369 F.3d 212, 220. Such an antitrust injury must be proven regardless of whether
or not the alleged antitrust violation is found to be per se illegal. Atlantic Richfield Co.
v. USA Petroleum Co., 495 U.S. 328, 344 (1990).
         Here, Defendants expressly denied any injury to plaintiffs, or violation of antitrust
laws, in the Settlement Agreement.24 Thus, unless the Circuit’s view is that this language
too may be overcome by my equitable powers, it is at least unclear whether I possess
discretion to award treble damages to Plaintiffs on the facts of this case.
         In any event, the Folding Carton Court, when it declined to award residual funds
to already-compensated plaintiffs, noted that plaintiffs settled without (and perhaps
because of the lack of) a showing that treble damages were warranted. Cf. Folding
Carton at 1106 (“The [plaintiffs’] contentions that they have not been properly
compensated and are therefore equitably entitled to an additional distribution proceed
from the assumption -- for which there is absolutely no demonstrated basis -- that the
class could have recovered treble damages…”). Leaving aside the question as to whether
Plaintiffs can, as a matter of law, recover treble damages, Plaintiffs’ voluntary settlement
and Defendants’ concomitant disclaimers of liability or damage counsel against Plaintiffs
receiving treble damages as a matter of equity.25
         Lastly, the small number of claiming class members who received a direct benefit,
as compared to the large number of non-claiming class members who might receive an
indirect benefit from a cy pres distribution, counsels against the equitable claim of the

24
   See, e.g., Settlement Agreement at 3 (“[T]his Agreement shall in no event be construed or deemed to be
evidence of or an admission or concession on the part of Settling Defendants… with respect to any claim of
fault, liability, wrongdoing or damage whatsoever… Settling Defendants have also denied and continue to
deny, inter alia, the allegations that Settling Defendants conspired with each other or with other defendants,
that the Representative Plaintiffs or Class Members have suffered damage, that models’ commissions have
been artificially fixed, raised or maintained by reason of the alleged conspiracies or otherwise, that the
Representative Plaintiffs or members of the Class were harmed by any of the conduct alleged in the
Action…”) (emphasis added).
25
   Additionally, no Plaintiffs here objected to the settlement that failed to provide for treble damages. Cf.
Folding Carton at 1106 (“Every class member who filed a valid claim against the settlement fund and
received a distribution from it was informed that its distributed share was final and represented full
satisfaction of its claims against the fund. Not a single distributee contested the finality of the distribution
to it at that time.”).


                                                      15
     Case 1:02-cv-04911-LAP Document 544 Filed 07/05/07 Page 16 of 20




already-compensated claimants. Defendants noted that less than 5% of the class
submitted claims as of the date of this briefing. Ford Defendants’ Memorandum of Law
Addressing Issues on Remand (“Def. Opp.”) ¶ 7.26 Indeed, the Folding Cartons Court
noted a similar disparity and found the equitable claim of the “few former claiming class
members” to be far less than the non-claiming class members. See Folding Cartons at
1107 (“Even though the settlement fund was established for their benefit and, in effect,
paid for in part with consideration furnished by them, the nonclaiming class plaintiffs
have to date received no direct or indirect benefit from the settlement fund.”)
        Accordingly, pursuant to my equitable authority, I decline to award an pro rata
distribution of the residual settlement funds to already-compensated class members in
excess of single damages.

                        3. Pre-1998 Claims

        Third, Plaintiffs propose that already-compensated claimants receive
compensation from the residual funds for the portions of their claims that predated the
statute of limitations in this action (i.e., claims before 1998). The Folding Cartons Court
declined to distribute its residual funds in that manner, for much the same reason that it
declined to award treble damages. Cf. Folding Carton at 1106 (noting “no demonstrated
basis” for the assumption that “the class could have recovered treble damages for the
entire 15 year period for which a conspiracy was alleged,” noting that the settlement
reflected “uncertainties” with respect to “liability and the period of damages,” and
distinguishing “additional settlement funds” from “what might have been their legal
rights had [the] litigation proceeded through trial”).27
        It is at best unclear whether class members here might have recovered for claims
outside the statute of limitations. Indeed, I found they could not. I decline, pursuant to
my equitable authority, to award residual funds to already-compensated claimants for
claims predating the statute of limitations.


26
   Plaintiffs note that the approximately 5% of class members who submitted claims received over 40% of
the calculated single damages. Pl. Reply at 3.
27
   Plaintiffs cite In re Prudential Secs. Ltd. Partnerships Litig., 1995 U.S. Dist. LEXIS 22103 (S.D.N.Y.
1995) (“Prudential”), for the proposition that claimants whose claims are time-barred may share in the
proceeds of a settlement. Prudential appears to be only marginally apposite, as the Prudential Court
considered only the issue of settlement, not equitable claims to residual funds post-settlement.


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    Case 1:02-cv-04911-LAP Document 544 Filed 07/05/07 Page 17 of 20




                      4. Shelton State Court Class Action Claims

        Fourth, Plaintiffs propose that I use the residual funds to compensate already-
compensated claimants who also submitted claims in the Shelton v. Elite Model
Management class action (No. 601076/03) currently pending in New York state court.
Failing that, Plaintiffs propose that I simply allocate the residual funds in this action to
the Shelton Court to distribute as that Court sees fit.
        Plaintiffs point out that originally, I had dismissed from this action Plaintiffs’
state law claims under Article 11 of the New York General Business Law for lack of a
private right of action. See Masters v. Wilhelmina Model Agency, 2003 U.S. Dist.
LEXIS 698 (S.D.N.Y. Jan. 17, 2003). Many of the same Plaintiffs in this action filed
similar claims in state court. Subsequently, the state Supreme Court held that Article 11
did indeed provide a private right of action to plaintiffs. See Shelton v. Elite Model Mgt.,
Inc., 812 N.Y.S.2d 745, 756 (N.Y. Sup. Ct. 2005). The state court also held that the
Article 11 claims were not time-barred. Id. at 757-58.
        Without commenting on the underlying reasoning of the New York Supreme
Court’s ruling, the fact is that Plaintiffs provide no caselaw to support the proposition that
a court may distribute residual funds in a class action to compensate for claims brought in
another court (let alone simply give residual funds from a federal class action to a state
court to distribute as it sees fit). Although Plaintiffs’ state law claims may be based on
similar factual predicates, they are different claims brought in a different court.
        Accordingly, pursuant to my equitable authority, I decline to compensate
Plaintiffs in this action for their state law claims currently pending in state court.

                      5. Cy Pres Distribution to Charities

        The purpose of cy pres distribution, as the Second Circuit has counseled, is to
"put the unclaimed fund to its next best compensation use, e.g., for the aggregate,
indirect, prospective benefit of the class." Masters v. Wilhelmina Model Agency, Inc.,
473 F.3d at 436, citing 2 Herbert B. Newberg & Alba Conte, NEWBERG ON CLASS
ACTIONS § 10:17 (4th ed. 2002). “[C]ourts have utilized cy pres distributions where class
members are difficult to identify, or where they change constantly, or where there are
unclaimed funds." Id., citing NEWBERG ON CLASS ACTIONS § 10:16 n.1. As noted above,



                                              17
    Case 1:02-cv-04911-LAP Document 544 Filed 07/05/07 Page 18 of 20




cy pres is generally limited to situations where plaintiffs have had a full opportunity to
make a claim and be compensated. See id., citing American Law Institute, Draft of the
Principles of the Law of Aggregate Litigation ¶ 3.08.
        As did the Folding Cartons Court, I conclude that cy pres distribution of the
residual funds remains the “next best” compensation use for the indirect benefit of the
class. See Folding Cartons at 1110 (directing residual funds to tax-exempt foundation).
This Court has undertaken extensive research to identify charities that focus on services
utilized by women and the underinsured and entail minimal administrative costs. See
Fears v. Wilhelmina Model Agency, Inc., 2005 U.S. Dist. LEXIS 7961, at *32-39. Other
courts have utilized similar distributions to charities. See, e.g., In re Motorsports Merch.
Antitrust Litig., 160 F. Supp. 2d 1392, 1395 (N.D. Ga. 2001); Superior Beverage Co. v.
Owens-Illinois, 827 F. Supp. 477, 478 (N.D. Ill. 1993).
        It appears now, after several extensions of time (including another extension in
this opinion), and multiple efforts by the claims administrator at my behest to take
additional steps to locate class members, that class members have had every opportunity
to make claims and be compensated before the application of cy pres doctrine.
        In accordance with my original May 5, 2005 opinion, “pursuant to the terms of
the Agreement, [and] in accordance with Second Circuit precedent,” beginning no later
than the first week of September 2007, if not before, and “assuming no legal
impediments,” the charities will receive residual funds (the "Residual Fund
Distributions") as detailed in my original May 5, 2005 opinion, except where amended by
this opinion. See Fears v. Wilhelmina Model Agency, Inc., 2005 U.S. Dist. LEXIS 7961,
at *36-38. The Court reserves the right to amend the Residual Fund Distributions before,
during, or after the disbursement depending on the availability of these funds. Id. at *37
n.16.
        After the initial distribution, additional distributions will be contingent upon
achievement. Each entity will provide the Court in an annual report with information
detailing what the project has accomplished. The Court will retain jurisdiction over this
aspect of the lawsuit. The available funds (after all claimant dollars, attorneys' fees, and
expenses have been disbursed in accordance with this Opinion and upon further order of
this Court) will be deposited by the Administrator with the Clerk of Court and placed in



                                              18
     Case 1:02-cv-04911-LAP Document 544 Filed 07/05/07 Page 19 of 20




the Court Registry Investment System, Interest Bearing Account. Second year funds,
where there was an agreement to a second year distribution, will only be released on
authorization from the Court and based on the progress reported in the annual report for
the first year.28 The annual report will be forwarded to the Court eleven (11) months
after the date of the initial distribution. Where the disbursement is in two installments,
the second installment will include any accumulated interest. Any funds not allotted to
any entity for failure to achieve reasonable progress or expansion, or for any other reason,
shall be awarded to one of the remaining projects. See generally Fears v. Wilhelmina
Model Agency, Inc., 2005 U.S. Dist. LEXIS 7961, at *36-38.
         Accordingly, initial distributions will take place during the first week of
September 2007 to the following charities: 1) a first-year installment of $500,000 (plus
accumulated interest) to the Continuum Women’s Cardiac Care Network, see Fears v.
Wilhelmina Model Agency, Inc., 2005 U.S. Dist. LEXIS 7961, at *39-41; 2) a first-year
installment of $500,000 (plus accumulated interest) to the Eating Disorders Program of
the Columbia University Medical Center, see id. at *41-42; 3) a first-year installment of
$250,000 (plus accumulated interest) to the Buprenorphine Program of the Division on
Substance Abuse at Columbia University Medical Center, see id. at *43-44; 4) a first-
year installment of $500,000 (plus accumulated interest) to the Ovarian Cancer
Repository of the Columbia University Medical Center, see id. at *44-46; 5) a first-year
installment of $500,000 (plus accumulated interest) to New York University Medical
Center to be used for the Gender Differences of the Heart and Ballooning of the Heart
Muscle programs, see id. at *46-48; 6) a first-year installment of $500,000 (plus
accumulated interest) to the Civil Division of the Legal Aid Society, see id. at *49-50;
and 7) a one-time payment of $250,000 to the “Heart Truth” campaign, see id. at *50-51.
         After the payment of attorneys’ fees, expenses, and claims approved in this
Opinion, and the distribution of these funds, there will remain approximately
$1,666,026.03 of residual funds (minus associated accumulated interest on claims made
by plaintiffs and funds directed to charitable organizations). Thus, taking into account
28
  The charities should take note that owing to the additional attorneys’ fees, expenses, and claims approved
in this Opinion, it appears that approximately $1,158,352 (not including interest, some future expenses and
taxes) will be available after the initial distribution to the charities. Thus, it is a near-certainty that not all
of the second-year funds will be distributed as originally contemplated. Charities may want to take care to
submit a report to the Court if they seek to receive funding for a second year.


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Case 1:02-cv-04911-LAP Document 544 Filed 07/05/07 Page 20 of 20
